UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                   3/12/2020


DWAYNE HARRIS,

                                            Plaintiff,               18-CV-11681 (GBD)(SN)

                          -against-                                            ORDER

THE BRONX PARENT HOUSING NETWORK, INC.,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

        In light of recent public health developments, the settlement conference scheduled for

Friday, March 13, 2020, at 10:00 a.m. will be conducted telephonically rather than in person.

The Court will provide dial-in information by email prior to the conference.

SO ORDERED.




DATED:           March 12, 2020
                 New York, New York
